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1    BENJAMIN B. WAGNER
     United States Attorney
2    KIRK E. SHERRIFF
     STANLEY A. BOONE
3    Assistant U.S. Attorneys
     2500 Tulare Street, Suite 4401
4    Fresno, California 93721
     Telephone: (559) 497-4000
5    Facsimile: (559) 497-4099
6    Attorneys for the
     United States of America
7
8                      IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )       1:10-CR-00343 LJO
                                       )
12                   Plaintiff,        )       ORDER FOR FORFEITURE MONEY
          v.                           )                JUDGMENT
13                                     )
     JASON M. ESPINOLA,                )
14                                     )
                     Defendant.        )
15                                     )
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          Based upon the United States’ Application for Forfeiture Money
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     Judgment and the plea agreement entered into between plaintiff
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     United States of America and defendant Jason M. Espinola,
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          IT IS HEREBY ORDERED that:
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          1.   Defendant Jason M. Espinola shall forfeit to the United
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     States the sum of $63,472, and the Court imposes a personal
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     forfeiture money judgment against defendant in that amount.                The
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     Court determines that the evidence supports a money judgment in the
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     amount of $63,472 in this case.
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          2.   Payment of the personal forfeiture money judgment should
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     be made in the form of a cashier’s check made payable to the U.S.
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     Department of the Treasury, Internal Revenue Service and sent to the
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     U.S. Attorney’s Office, Attn:      Asset Forfeiture Unit, 2500 Tulare
                                           1           Order for Forfeiture Money Judgment
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1    Street, Suite 4401, Fresno, CA 93721.           Any funds applied towards
2    such judgment shall be forfeited to the United States of America and
3    disposed of as provided by law.          Prior to the imposition of
4    sentence, any funds delivered to the United States to satisfy the
5    personal money judgment shall be seized and held by the U.S.
6    Department of the Treasury, Internal Revenue Service, in its secure
7    custody and control.
8             3.      This Order of Forfeiture shall become final as to the
9    defendant at the time of sentencing and shall be made part of the
10   sentence and included in the judgment.
11            4.      The United States may, at any time, move pursuant to Rule
12   32.2(e) to amend this Order of Forfeiture to substitute property
13   having a value not to exceed $63,472 to satisfy the money judgment
14   in whole or in part.
15            IT IS SO ORDERED.
16   Dated:        December 13, 2011          /s/ Lawrence J. O'Neill
     b9ed48                               UNITED STATES DISTRICT JUDGE
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                                             2             Order for Forfeiture Money Judgment
